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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:
                                                    CHAPTER 11
 GOOD DEED 317, LLC,
                                                    CASE NO. 20-71227-PMB
          Debtor.

                    SECOND AMENDED PLAN OF REORGANIZATION

                          Dated this 5th day of February, 2021

                                        Filed by:

                                   Good Deed 317, LLC

                                    Attorneys for Debtor
                                   Cameron M. McCord
                                   Jones & Walden, LLC
                                 699 Piedmont Avenue, NE
                                  Atlanta, Georgia 30308
                                      (404) 564-9300
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       COMES NOW, Good Deed 317, LLC, Debtor and Debtor in possession in the above-
captioned case (“Debtor”), and, pursuant to sections 1121 and 1123 of title 11 of the United States
Code (the “Bankruptcy Code”) and the Rule 3016 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”), proposes this Second Amended Plan of Reorganization (the “Plan”) for
the resolution of the Claims against Debtor. Debtor is the proponent of this Plan within the
meaning of section 1129 of the Bankruptcy Code.

                                            Article 1
                                          Introduction

        1.1      Disclosure Statement. Contemporaneously with the filing of the Plan, Debtor filed
and served a Disclosure Statement for the Plan, as required by section 1125 of the Bankruptcy
Code. The Disclosure Statement contains Debtor’s history, financial information regarding Debtor
and its assets, and a solicitation of acceptances of this Plan.

       1.2      Property and Claims. This Plan deals with all property of Debtor and provides for
treatment of all Claims against Debtor and its property.

                                           Article 2
                              Definitions and General Provisions

       For the purposes of this Plan, except as otherwise expressly provided or unless the context
otherwise requires, all capitalized terms not otherwise defined shall have the meanings ascribed to
them in this Article of the Plan. Any term that is not defined herein, but is defined in the
Bankruptcy Code or the Bankruptcy Rules, shall have the meaning ascribed to that term therein.

       2.1     The following terms, when used in this Plan, shall have the following meaning:

               2.1.1 “Administrative Expense Claim” means a Claim for payment of an
administrative expense entitled to priority under section 507(a)(2) of the Bankruptcy Code.

              2.1.2 “Allowed Claim” shall mean a Claim or any portion thereof that is
enforceable against Debtor or enforceable against the property of Debtor under sections 502 or
503 of the Bankruptcy Code.

               2.1.3 “Allowed Secured Claim” shall mean the amount of the allowed Claim held
by parties secured by property of Debtor which is equal to the amount provided by the Plan unless
such other amount is stipulated as constituting the allowed secured claim between the parties, or
such amount as the Bankruptcy Court allows.

             2.1.4 “Allowed Unsecured Claim” shall mean Allowed Claims which are not
allowed administrative, priority, or secured claims.

              2.1.5 “Assets” means, collectively, all of the property, as defined by section 541
of the Bankruptcy Code, of the Estate of Debtor (including without limitation, all of the assets,



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property, interests (including equity interests) and effects, real and personal, tangible and
intangible, including all Avoidance Actions), wherever situated as such properties exist on the
Effective Date or thereafter.

               2.1.6 “Avoidance Action” means any claim or cause of action of the Estate arising
out of or maintainable pursuant to sections 502, 510, 541, 542, 543, 544, 545, 547, 548, 549, 550,
551 or 553 of the Bankruptcy Code or any other similar applicable law, regardless of whether such
action has been commenced prior to the Effective Date.

               2.1.7 “Ballot” means each of the ballot forms that are distributed with the
Disclosure Statement to Holders of Claims included in the Classes that are Impaired under this
Plan and are entitled to vote.

               2.1.8 “Bankruptcy Case” means the chapter 11 case initiated by Debtor’s filing
on the Filing Date of a voluntary petition for relief in the Bankruptcy Court under Chapter 11 of
the Bankruptcy Code.

               2.1.9   “Bankruptcy Code” means title 11 of the United States Code.

               2.1.10 “Bankruptcy Court” means the United States Bankruptcy Court for the
Northern District of Georgia, Atlanta Division.

               2.1.11 “Bankruptcy Rules” means, collectively, the Federal Rules of Bankruptcy
Procedure.

                2.1.12 “Business Day” means any day on which the commercial banks are required
to be open for business in Atlanta, Georgia and which is not a weekend or legal holiday recognized
by the Bankruptcy Court or the Superior Courts of the State of Georgia.

               2.1.13 “Cash” means legal tender of the United States of America and equivalents
thereof.

                2.1.14 “Causes of Action” means all Avoidance Actions and any and all of
Debtor’s actions, suits, accounts, agreements, promises, rights to payment and claims, whether
known or unknown, reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed,
contingent, matured, unmatured, disputed, undisputed, secured, unsecured, and whether asserted
or assertable directly or derivatively, in law, equity, or otherwise.

               2.1.15 “Chapter 11” means chapter 11 of the Bankruptcy Code.

               2.1.16 “Claim” means a claim against Debtor whether or not asserted, as defined
in section 101(5) of the Bankruptcy Code.

               2.1.17 “Classes” means a category of Claims described in this Plan.




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              2.1.18 “Confirmation Date” means the date on which the Bankruptcy Court enters
the Confirmation Order.

               2.1.19 “Confirmation Hearing” means the hearing before the Bankruptcy Court
held to consider confirmation of this Plan and related matters under section 1128 of the Bankruptcy
Code, as such hearing may be continued.

               2.1.20 “Confirmation Order” means the order confirming this Plan pursuant to
section 1129 of the Bankruptcy Code that the Bankruptcy Court enters, which shall be in all
respects reasonably acceptable to Debtor.

               2.1.21 “Debtor” shall mean Good Deed 317, LLC, the debtor in this Bankruptcy
 Case.

                2.1.22 “Disallowed Claim” means a Claim or any portion thereof that: (i) has been
disallowed by a Final Order, (ii) is listed in any of Debtor’ Schedules at zero, unknown, contingent,
disputed, or unliquidated and as to which a proof of claim bar date has been established but no
proof of claim has been timely filed or deemed timely filed with the Bankruptcy Court, or (iii) is
not listed in Debtor’ Schedules and as to which a proof of claim bar date has been established but
no proof of claim has been timely filed or deemed timely filed with the Bankruptcy Court.

              2.1.23 “Disclosure Statement” means the Disclosure Statement for the Plan of
Reorganization filed by Debtor as approved by the Bankruptcy Court pursuant to section 1125 of
the Bankruptcy Code and Bankruptcy Rule 3017, as such Disclosure Statement may be amended,
modified or supplemented from time to time.

               2.1.24 “Disputed Claim” means, with reference to any Claim, a Claim or any
portion thereof, that is the subject of an objection timely filed in the Bankruptcy Court and which
objection has not been withdrawn, settled or overruled by a Final Order of the Bankruptcy Court.

              2.1.25 “Distribution” means any distribution by Debtor or reorganized Debtor to a
Holder of an Allowed Claim.

               2.1.26 “District Court” means the United States District Court for the Northern
District of Georgia, Rome Division.

               2.1.27 “Effective Date” means the date that is 60 days after entry of a Confirmation
Order.

               2.1.28 “Estate” means, with regard to Debtor, the estate that was created by the
commencement by Debtor of the Bankruptcy Case pursuant to section 541 of the Bankruptcy
Code, and shall be deemed to include, without limitation, any and all rights, powers, and privileges
of such Debtor and any and all interests in property, whether real, personal or mixed, rights, causes
of action, avoidance powers or extensions of time that such Debtor or such estate shall have had
as of the commencement of the Bankruptcy Case, or which such Estate acquired after the



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commencement of the Bankruptcy Case, whether by virtue of sections 541, 544, 545, 546, 547,
548, 549 or 550 of the Bankruptcy Code, or otherwise.

              2.1.29 “Executory Contract or Unexpired Lease” means all executory contracts
and unexpired leases to which Debtor is a party.

               2.1.30 “Filing Date” means October 29, 2020.

               2.1.31 “Final Distribution” means the Distribution by Debtor or reorganized
Debtor that satisfies all Allowed Claims to the extent provided in accordance with the Plan.

                2.1.32 “Final Distribution Date” means the Distribution Date on which the Final
Distribution is made.

                2.1.33 “Final Order” means an order of the Bankruptcy Court, the District Court,
or any other court as to which (i) any appeal that has been taken has been finally determined or
dismissed, or (ii) the time for appeal has expired and no appeal has been filed timely. In the case
of an order of the Bankruptcy Court, the time for appeal, for purposes of this definition, shall be
the time permitted for an appeal to the District Court.

               2.1.34 “Holder” means a holder of a Claim or Interest, as applicable.

             2.1.35 “Impaired” shall have the meaning ascribed thereto in section 1124 of the
Bankruptcy Code.

               2.1.36 “Initial Distribution Date” means the Effective Date.

               2.1.37 “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

               2.1.38 “Person” means an individual, corporation, partnership, joint venture,
association, joint stock company, limited liability company, limited liability partnership, trust,
estate, unincorporated organization, governmental unit (as defined in section 101(27) of the
Bankruptcy Code) or other entity.

              2.1.39 “Plan” means this plan of reorganization as same may hereafter be
corrected, amended, supplemented, restated, or modified.

               2.1.40 “Priority Claim” means a Claim entitled to priority under the provisions of
section 507(a) of the Bankruptcy Code other than an Administrative Expense Claim or a Priority
Tax Claim.

                2.1.41 “Priority Tax Claim” means a Claim against Debtor that is of a kind
specified in sections 507(a)(8) of the Bankruptcy Code.




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               2.1.42 “Professional Compensation” means (1) any amounts that the Bankruptcy
Court allows pursuant to section 330 of the Bankruptcy Code as compensation earned, and
reimbursement of expenses incurred, by professionals employed by Debtor and the unsecured
creditors’ committee, if any, and (ii) any amounts the Bankruptcy Court allows pursuant to sections
503(b)(3) and (4) of the Bankruptcy Code in connection with the making of a substantial
contribution to the Bankruptcy Case.

              2.1.43 “Record Date” means any date established in the Confirmation Order or any
other Final Order of the Bankruptcy Court for determining the identity of holders of Allowed
Claims entitled to Distributions under this Plan. If no Record Date is established in the
Confirmation Order or any other order of the Bankruptcy Court prior to the Confirmation Date,
then the Record Date shall be the Confirmation Date.

               2.1.44 “Record Holder” means the Holder of a Claim as of the Record Date.

               2.1.45 “Released Parties” means Debtor.

               2.1.46 Intentionally Deleted.

                2.1.47 “Retained Action” means all claims, Causes of Action, rights of action, suits
and proceedings, whether in law or in equity, whether known or unknown, which Debtor or
Debtor’ Estate may hold against any Person, including, without limitation, (i) claims and Causes
of Action brought prior to the Effective Date, (ii) claims and Causes of Action against any Persons
for failure to pay for products or services provided or rendered by Debtor, (iii) claims and Causes
of Action seeking the recovery of Debtor’s accounts receivable or other receivables or rights to
payment created or arising in the ordinary course of Debtor’ business, and (iv) all Causes of Action
that are Avoidance Actions.

              2.1.48 “Schedules” means the Schedules of Assets and Liabilities Debtor filed in
the Bankruptcy Case, as such Schedules may be amended from time to time in accordance with
Bankruptcy Rule 1009.

               2.1.49 “Secured Claim” means a Claim against Debtor to the extent secured by a
Lien on any property of Debtor on the Petition Date to the extent of the value of said property as
provided in section 506(a) of the Bankruptcy Code.

                 2.1.50 “Subordinated Claim” means any Unsecured Claim that is subordinated in
priority to all other Allowed Unsecured Claims pursuant to the provisions of section 510 of the
Bankruptcy Code or other applicable law.

                2.1.51 “Unimpaired” means, with respect to a Class of Claims or Interests, any
Class that is not Impaired.

               2.1.52 “Unsecured Claim” means any Claim against Debtor that is not a Secured
Claim, a Priority Claim, a Priority Tax Claim, or an Administrative Expense Claim.



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       2.2     Time. Whenever the time for the occurrence or happening of an event, including
payments, as set forth in this Plan falls on a day which is a Saturday, Sunday, or legal holiday
under the laws of the United States of America or the State of Georgia, then the time for the next
occurrence or happening of said event shall be extended to the next day following which is not a
Saturday, Sunday, or legal holiday.

         2.3     Events of Default.    Unless otherwise specifically provided in a class under the
Plan, in the event of a default by Debtor in payments under the Plan or otherwise, the Holder must
send written notice (“Default Notice”) to Debtor at the addresses of record for Debtor as reflected
on the docket for this Bankruptcy Case, unless Debtor has provided the Holder with a written
notice of a change of address. Such Default Notice must contain the reason for the default and if
such default is monetary, the amount of the default and amount necessary to cure the default, as
well as notice that Debtor has ten (10) days (in the case of a monetary default) and thirty (30) days
(in the case of a non-monetary default) from receipt by Debtor and Debtor’s counsel of the Default
Notice (or the following business day if the 10th or 30th day does not fall on a business day) to cure
such default (and the address for payment, which will accept overnight deliveries, in the event of
a monetary default). The Holder must send such Default Notice to Debtor via certified mail or
recognized overnight carrier with a copy via email or fax and certified mail to Cameron M.
McCord (Jones & Walden, LLC) at the address reflected in the then current directory of the State
of Bar of Georgia. Debtor shall have ten (10) days or thirty (30) days (as applicable) from Debtor’s
and Debtor’s counsel’s receipt of the Default Notice to cure such default. Receipt by Debtor’s
Attorney shall not be deemed receipt by Debtor of the required Default Notice. Notwithstanding
anything to the contrary in the Plan or otherwise, a default under one Class of Claims or sub-class
of Claims shall not constitute a default under any other Class of Claims or sub-class of Claims.
(For example, a default under Class 4 shall not constitute a default under Class 1).

        2.4     Notices. All notices under the Plan shall be in writing. Unless otherwise
specifically provided here in, all notices shall be sent to Debtor via U.S. Certified Mail Return
Receipt or by recognized overnight carrier to the address of record for Debtor in this Case, unless
Debtor has provided such Holder with written notice of change of address for Debtor, with a copy
via email or fax and certified mail to Cameron M. McCord at the address reflected in the then
current directory of the State Bar of Georgia. Receipt of notice by Cameron M. McCord (Jones &
Walden, LLC) shall not be deemed receipt by Debtor of the required notice. Notice to creditors
may be provided (a) at the address set forth on the proof of claim filed by such Holder, (b) at the
address set forth in any written notices of address change delivered to Debtor after the date of any
related proof of claim, (c) at the addresses reflected in the Schedules if no proof of claim has been
filed and Debtor has not received a written notice of a change of address, or (d) if the Holder’s
address is not listed in the Schedules, at the last known address of such Holder according to the
Debtor’s books and records. Notices shall be deemed received: (i) on the day transmitted if sent
via fax or email and (ii) on the day delivered if sent via nationally recognized overnight delivery
service or Certified Mail Return Receipt.




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                                             Article 3
                              Classification of Claims and Interests

        3.1      Summary. The categories of Claims and Interests set forth below classify all
Claims against Debtor for all purposes of this Plan. A Claim or Interest shall be deemed classified
in a particular Class only to the extent the Claim or Interest qualifies within the description of that
Class and shall be deemed classified in a different Class to the extent that any remainder of such
Claim or Interest qualifies within the description of such different Class. The treatment with
respect to each Class of Claims and Interests provided for in Article 4 shall be in full and complete
satisfaction, release and discharge of such Claims and Interests.

       3.2     Classes:

               3.2.1   Class 1 shall consist of the Secured or Priority Claim of the Internal
                       Revenue Service.

               3.2.2   Class 2 shall consist of the Secured or Priority Claim of the Georgia
                       Department of Revenue.

               3.2.3   Class 3 shall consist of the Priority Tax Claims of Fulton County, Georgia.

               3.2.4   Class 4 shall consist of the Tax Claims of Governmental Units Not
                       Otherwise Classified.

               3.2.5   Class 5 shall consist of the Secured Claim of LV Atlanta, LLC.

               3.2.6   Class 6 shall consist of Secured Claim of TP Krog, LLC.

               3.2.7   Class 7 shall consist of General Unsecured Claims.

               3.2.8   Class 8 shall consist of Interest Claims.

                                            Article 4
                                Treatment of Claims and Interests

        A brief summary of the Classes, the treatment of each Class, and the voting rights of each
Class is set forth below. A complete description of the treatment of each Class is set forth in
Article 4 of the Plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims.

        Debtor reserves the right to pay any claim in full at any time in accordance with the terms
of the Plan (i.e. at the percentage distribution designated in the Plan and including any accrued and
unpaid interest, if any) without prepayment penalty.



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       4.1     Class 1: Secured or Priority Claim of the Internal Revenue Service

         Debtor is not aware of any claim held by the Internal Revenue Service (“IRS”). However,
in the event the Court determines the IRS holds an Allowed Class 1 IRS Tax Claim for secured or
priority taxes, Debtor shall pay such Allowed Class 1 IRS Tax Claim in full in equal monthly
payments commencing on the Effective Date and continuing by the 28th day of each subsequent
month (or the next Business Day if the 28th day is not a Business Day) with interest accruing at the
annual rate of 4% unless the IRS agrees to a lower interest rate or longer payment term. Any third-
party payments or payments in excess of the scheduled distribution pursuant to Class 1 received
by IRS after the Filing Date shall be applied to the principal tax obligation owed by Debtor
pursuant to Class 1. Notwithstanding anything to the contrary herein, Debtor shall pay the full
amount of the Allowed Class 1 IRS Tax Claim by the earlier of (i) the Class 5 and 6 Maturity Date
or (iii) within 60 months of the Filing Date

        A failure by the Debtor to make a payment under Class 1 to the IRS pursuant to the terms
of the Plan shall be an event of default as to the IRS. In the event of a default under Class 1, the
IRS must send a Default Notice to Debtor in accordance with Article 2.3 of the Plan. Such Default
Notice must contain the reason for the default and if such default is monetary, the amount of the
default and amount necessary to cure the default and the address for payment, which will accept
overnight deliveries. Receipt by Debtor’s Attorney shall not be deemed receipt by Debtor of the
required Default Notice. In the event of an uncured default in payments under Class 1 to the IRS
and following proper Default Notice procedures and opportunity to cure pursuant to Article 2.3 of
the Plan, the IRS may (a) enforce the entire amount of its then outstanding Allowed Class 1 IRS
Priority Tax Claim; (b) exercise any and all rights and remedies it may have under applicable non-
bankruptcy law regarding the Allowed Class 1 IRS Priority Tax Claim; and (c) seek such relief as
may be appropriate in the Bankruptcy Court.

         The amount of any claim of the IRS that is not assessable prior to the Filing Date or treated
as arising before the Filing Date pursuant to 11 U.SC. §502(i), and the right of the IRS, if any, to
payment in respect thereto shall (i) be determined in the manner in which the amount of such Claim
and the rights of the IRS would have been resolved or adjudicated if the Bankruptcy Case had not
been commenced, (ii) survive after the Effective Date as if the Bankruptcy Case had not been
commenced, and (iii) not be discharged pursuant to section 1141 of the Bankruptcy Code.
However, the rights and treatment of the IRS and obligations and liability of Debtor or its property
regarding any claim of the IRS against Debtor which was assessable prior to the Filing Date shall
be treated and fixed in accordance with the Plan, and any additional or other claims assessable on
or prior to the Filing Date or treated as arising before the Filing Date pursuant to 11 U.SC. §502(i),
and not timely asserted by the IRS in accordance with the Bankruptcy Code and the Plan and in
all instances prior to entry of the Confirmation Order, shall be forever barred. Debtor reserves the
right to pay any tax claim in full at any time.

       The Claim of the Class 1 Creditor is Impaired by the Plan and the holder of the Class 1
Claim is entitled to vote to accept or reject the Plan.




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       Nothing herein shall constitute an admission as to the nature, validity, or amount of such
claim. Debtor reserves the right to object to any and all claims.

       4.2     Class 2: Secured or Priority Tax Claim of Georgia Department of Revenue

        Debtor is not aware of any claim held by the Georgia Department of Revenue (“GDR”).
However, in the event the Court determines the GDR holds an Allowed Class 2 GDR Tax Claim
for secured or priority taxes, Debtor shall pay such Allowed Class 2 GDR Tax Claim in full within
60 months of the Filing Date in equal monthly payments commencing on the Effective Date and
continuing by the 28th day of each subsequent month (or the next Business Day if the 28th day is
not a Business Day) with interest accruing at the annual rate of 6.5% unless the GDR agrees to a
lower interest rate or longer payment term. Any third-party payments or payments in excess of
the scheduled distribution pursuant to Class 2 received by GDR after the Filing Date shall be
applied to the principal tax obligation owed by Debtor pursuant to Class 2. Notwithstanding
anything to the contrary herein, Debtor shall pay the full amount of the Allowed Class 2 GDR Tax
Claim by the earlier of (i) the Class 5 and 6 Maturity Date or (iii) within 60 months of the Filing
Date.

        A failure by the Debtor to make a payment under Class 2 to the GDR pursuant to the terms
of the Plan shall be an event of default as to the GDR. In the event of a default under Class 2, the
GDR must send a Default Notice to Debtor in accordance with Article 2.3 of the Plan. Such Default
Notice must contain the reason for the default and if such default is monetary, the amount of the
default and amount necessary to cure the default and the address for payment, which will accept
overnight deliveries. Receipt by Debtor’s Attorney shall not be deemed receipt by Debtor of the
required Default Notice. In the event of an uncured default following proper Default Notice
procedures and opportunity to cure pursuant to Article 2.3 of the Plan, the GDR may (a) enforce
the entire amount of its then outstanding Allowed Class 2 GDR Priority Tax Claim; (b) exercise
any and all rights and remedies it may have under applicable non-bankruptcy law regarding the
Allowed Class 2 GDR Priority Tax Claim; and (c) seek such relief as may be appropriate in the
Bankruptcy Court.

        The amount of any claim of GDR that is not assessable prior to the Filing Date or treated
as arising before the Filing Date pursuant to 11 U.SC. §502(i), and the right of GDR, if any, to
payment in respect thereto shall (i) be determined in the manner in which the amount of such Claim
and the rights of GDR would have been resolved or adjudicated if the Bankruptcy Case had not
been commenced, (ii) survive after the Effective Date as if the Bankruptcy Case had not been
commenced, and (iii) not be discharged pursuant to section 1141 of the Bankruptcy Code.
However, the rights and treatment of GDR and obligations and liability of Debtor or its property
regarding any claim of GDR against Debtor which was assessable prior to the Filing Date shall be
treated and fixed in accordance with the Plan, and any additional or other claims assessable on or
prior to the Filing Date or treated as arising before the Filing Date pursuant to 11 U.SC. §502(i),
and not timely asserted by GDR in accordance with the Bankruptcy Code and the Plan and in all
instances prior to entry of the Confirmation Order, shall be forever barred. Debtor reserves the
right to pay any tax claim in full at any time.




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       The Claim of the Class 2 Creditor is Impaired by the Plan and the holder of the Class 2
Claim is entitled to vote to accept or reject the Plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of such
claim. Debtor reserves the right to object to any and all claims.

       4.3      Class 3: Priority Tax Claims of Fulton County, Georgia

        Debtor scheduled the Fulton County Tax Commissioner (“Fulton County”) as holding a
priority tax claim in the total amount of $421,424.70 consisting of 2020 ad valorem taxes and
charges for Debtor’s real property as well as outstanding solid waste bills. As of the date hereof,
Fulton County has not filed a proof of claim. Debtor shows that Fulton County’s Class 3 Tax
Claim consists of the following:

             (i)   $87,756.49 for 2020 ad valorem property taxes for Fulton County on Parcel
       ID NO 14-0228-LL-051-1;

               (ii)  $274,605.94 for 2020 ad valorem property taxes for the City of Atlanta on
       Parcel ID NO 14-0228-LL-051-1;

                (iii)   $7,608.28 for the 2020 Solid Waste Bill for Parcel ID NO 14-0228-LL-051-
       1; and

             (iv)   $10,245.10 for 2020 ad valorem property taxes for Fulton County on Parcel
       ID No 14-0228-LL-049-5;

             (v)    $32,055.63 for 2020 ad valorem property taxes for City of Atlanta on Parcel
       ID No 14-0228-LL-049-5; and

                (vi)    $9,153.28 for the 2020 Solid Waste Bill for Parcel ID No 14-0228-LL-049-
       5;

(Collectively, such amount shall be referred to herein as the “Class 3 Fulton County Tax Claim”).


        Debtor shall pay the Allowed Class 3 Fulton County Tax Claim in 2 equal annual payments
on the fourth and fifth anniversary of the Petition Date. The Allowed Class 3 Claim shall accrue
interest at the rate of 12% per annum. Upon receipt of payment in full of the Class 3 Fulton County
Tax Claim, Fulton County shall release the lien on the real property located at (i) Parcel
Identification Number 14-0228-LL-051-1, (ii) Parcel Identification Number 14-0228-LL-049.5,
and (iii) any other encumbered property of Debtor upon receipt by Fulton County of the amount
due on the applicable Class 3 Fulton County Tax Claim on the terms herein.

       A failure by the Debtor to make a payment under Class 3 to Fulton County pursuant to the
terms of the Plan shall be an event of default under Class 3 as to applicable Class 3 Fulton County



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Tax Claim. In the event of a default under Class 3, Fulton County must send a Default Notice to
Debtor in accordance with Article 2.3 of the Plan. Such Default Notice must contain the reason for
the default and if such default is monetary, the amount of the default and amount necessary to cure
the default and the address for payment, which will accept overnight deliveries. Receipt by
Debtor’s Attorney shall not be deemed receipt by Debtor of the required Default Notice. In the
event of an uncured default following proper Default Notice procedures and opportunity to cure
pursuant to Article 2.3 of the Plan, Fulton County may (a) enforce the entire amount of its then
outstanding applicable Allowed Class 3 Fulton County Tax Claim; (b) exercise any and all rights
and remedies it may have under applicable non-bankruptcy law regarding the applicable Allowed
Class 3 Fulton County Tax Claim; and (c) seek such relief as may be appropriate in the Bankruptcy
Court.

         The amount of any claim of Fulton County that is not assessable prior to the Filing Date or
treated as arising before the Filing Date pursuant to 11 U.SC. §502(i), and the right of Fulton
County, if any, to payment in respect thereto shall (i) be determined in the manner in which the
amount of such Claim and the rights of Fulton County would have been resolved or adjudicated if
the Bankruptcy Case had not been commenced, (ii) survive after the Effective Date as if the
Bankruptcy Case had not been commenced, and (iii) not be discharged pursuant to section 1141
of the Bankruptcy Code. However, the rights and treatment of Fulton County and obligations and
liability of Debtor or its property regarding any claim of Fulton County against Debtor which was
assessable prior to the Filing Date shall be treated and fixed in accordance with the Plan, and any
additional or other claims assessable on or prior to the Filing Date or treated as arising before the
Filing Date pursuant to 11 U.SC. §502(i), and not timely asserted by Fulton County in accordance
with the Bankruptcy Code and the Plan and in all instances prior to entry of the Confirmation
Order, shall be forever barred. Debtor reserves the right to pay any tax claim in full at any time.

       The Claim of the Class 3 Creditor is not Impaired by the Plan and the holder of the Class
3 Claim is entitled to vote to accept or reject the Plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of such
claim. Debtor reserves the right to object to any and all claims.

       4.4     Class 4: Priority and Secured Tax Claims of Governmental Units Not
               Otherwise Classified in the Plan

         Class 4 shall consist of any Priority or Secured Claim of a governmental unit entitled to
priority under 11 U.S.C. §507(a)(8) or §502(i), which are not otherwise specifically classified in
the Plan (“Class 4 Governmental Unit Tax Claim”). Debtor is not aware of any Holders of Class
4 Governmental Unit Tax Claim not otherwise classified in the Plan. In the event there are
Allowed Holders of Class 4 Governmental Unit Tax Claims, Debtor shall pay such Allowed Class
4 Government Unit Tax Claims at the rate of $100 per month commencing on the 28th day of the
first full month following the Effective Date and continuing by the 28th day of each subsequent
month (or the next Business Day if the 28th day is not a Business Day), with interest accruing at
the annual rate of 4% (or at the rate otherwise as required by the Bankruptcy Code), with a final
balloon payment on the 5th anniversary of the Filing Date (i.e. October 29, 2025) unless such holder



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agrees to a longer payment term, which such agreement may be communicated by continued
acceptance of monthly payments after October 29, 2025. Any third-party payments or payments
in excess of the scheduled distribution pursuant to Class 4 received by a holder shall be applied to
the principal tax obligation owed by Debtor pursuant to Class 4. Debtor’s Class 4 payments shall
be applied (i) first to interest accruing under the Plan, (ii) second to the principal balance and (iii)
then to interest which accrued prior to the Effective Date, if any. Debtor reserves the right to pay
any Class 4 Governmental Unit Tax Claim in full at any time.

       Debtor shall pay any claim of a Class 4 Claim Holder assessable, arising prior to the Fling
Date or treated as arising prior to the Filing Date pursuant to 11 U.S.C. §502(i) on the terms herein,
and holders of Class 4 Claims shall be permanently enjoined from seeking payment in excess of
the amounts provided for in the Plan for such claims.

        A failure by the Debtor to make a payment under Class 4 to a holder of a Class 4
Governmental Unit Tax Claim pursuant to the terms of the Plan shall be an event of default under
Class 4 as to such holder. In the event of a default under Class 4, the applicable holder must send
a Default Notice to Debtor in accordance with Article 2.3 of the Plan. Such Default Notice must
contain the reason for the default and if such default is monetary, the amount of the default and
amount necessary to cure the default and the address for payment, which will accept overnight
deliveries. Receipt by Debtor’s Attorney shall not be deemed receipt by Debtor of the required
Default Notice. In the event of an uncured default following proper Default Notice procedures
and opportunity to cure pursuant to Article 2.3 of the Plan, the Governmental Unit may (a) enforce
the entire amount of its then outstanding Allowed Class 4 Governmental Unit Tax Claim; (b)
exercise any and all rights and remedies it may have under applicable non-bankruptcy law
regarding the Allowed Class 4 Governmental Unit Tax Claim; and (c) seek such relief as may be
appropriate in the Bankruptcy Court.

        The amount of any claim of a holder of Class 4 Governmental Unit Tax Claim that is not
assessable prior to the Filing Date or treated as arising before the Filing Date pursuant to 11 U.SC.
§502(i), and the right of Governmental Unit, if any, to payment in respect thereto shall (i) be
determined in the manner in which the amount of such Claim and the rights of Governmental Unit
would have been resolved or adjudicated if the Bankruptcy Case had not been commenced, (ii)
survive after the Effective Date as if the Bankruptcy Case had not been commenced, and (iii) not
be discharged pursuant to section 1141 of the Bankruptcy Code. However, the rights and treatment
of a Governmental Unit and obligations and liability of Debtor or its property regarding any claim
of a Governmental Unit against Debtor which was assessable prior to the Filing Date shall be
treated and fixed in accordance with the Plan, and any additional or other claims assessable on or
prior to the Filing Date or treated as arising before the Filing Date pursuant to 11 U.SC. §502(i),
and not timely asserted by a Governmental Unit in accordance with the Bankruptcy Code and the
Plan and in all instances prior to entry of the Confirmation Order, shall be forever barred. Debtor
reserves the right to pay any tax claim in full at any time.

        The Holder of an Allowed Class 4 Governmental Unit Priority Tax Claim is impaired and
entitled to vote to accept or reject the Plan. Nothing contained herein shall prohibit Debtor from
objecting to the Class 4 Claims for any reason.



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       4.5     Class 5: Secured Claim of LV Atlanta, LLC

        Class 5 consists of the first priority secured claim of LV Atlanta, LLC (“LV”) (such amount
owed to LV and as allowed by the Court plus interest accruing pursuant to this Class 5 shall be
referred to herein as the “Class 5 Secured Claim”). Debtor scheduled LV as holding a claim in the
amount of $12,500,000.00 pursuant to that certain Promissory Note and Loan Agreement dated
December 13, 2018. The Class 5 Secured Claim is secured by a first priority lien on the Real
Property (i.e. that certain real property located at 3133 Continental Colony Parkway, Atlanta,
Georgia) pursuant to a Deed to Secure Debt dated December 13, 2018 and recorded in the Fulton
County, Georgia land records on December 14, 2108 in Deed Book 59525, Page 61 et. seq.
(“Security Deed”). Debtor’s Real Property in which LV holds a security interest as described in
Security Deed also may be referred to herein as the “Class 5 Collateral.” The Promissory Note,
Loan Agreement and Security Deed are referred to herein as the “Class 5 Loan Documents”).

        Debtor shall pay the Class 5 Secured Claim upon entry of the Confirmation Order. LV shall
release its lien on and security interest in the Class 5 Collateral for a payment of the then
outstanding allowed Class 5 Secured Claim less any payment previously received and applied
pursuant to this Plan. Upon request by Debtor, LV shall promptly provide a payoff letter including
the then outstanding balance of the Class 5 Secured Claim and an accounting including all credits
and debits, including all payments received and their application.

         In the event Debtor defaults on payments pursuant to Class 5 of the Plan or otherwise
defaults under Class 5 of the Plan, LV shall send a Default Notice to Debtor in accordance with
Article 2.3 of the Plan, which must contain the basis for declaring a default, and, in the event of a
monetary default, the notice must state the amount necessary to cure the default and an address
that will accept overnight deliveries. If Debtor does not cure the default in the period provided in
Article 2.3 of the Plan, LV shall be authorized to accelerate the Class 5 Secured Claim and exercise
its state law rights and remedies against the Class 5 Collateral. Except as otherwise provided for
in this Plan or otherwise inconsistent with this Plan, all non-monetary provisions of the Pre-Petition
Loan Documents and all remedies available to LV under such loan documents shall remain in full
force and effect; provided that, unless and until there is an uncured event of default under Class 5
of the Plan, LV shall forbear and be enjoined from the exercise of any rights or remedies under the
loan documents and any provision within the discretion of LV shall be subject to a reasonableness
standard.

       Nothing herein shall constitute an admission as the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims for any reason.

         The holder of the Class 5 Secured Claim is not impaired and entitled to vote to accept or
reject the Plan. Nothing contained herein shall prohibit Debtor from objecting to the Class 5 Claim
for any reason.




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       4.6     Class 6: Secured Claim of TP Krog, LLC

         Class 6 consists of the second priority secured claim of TP Krog, LLC (“TP”) (such amount
owed to TP and as allowed by the Court plus interest accruing pursuant to this Class 6 shall be
referred to herein as the “Class 6 Secured Claim”). TP holds a secured claim in the amount of
$3,300,000.00 pursuant to (i) that certain Promissory Note in the amount of $3,000,000.00 dated
December 13, 2018 and (ii) that certain Promissory Note dated October 1, 2020 in the amount of
$300,000.00. The Class 6 Secured Claim is secured by a second and third priority lien on the Real
Property (i.e. that certain real property located at 3133 Continental Colony Parkway, Atlanta,
Georgia) pursuant to (i) that certain Deed to Secure Debt dated December 13, 2018 and recorded
in the Fulton County, Georgia land records on December 14, 2108 in Deed Book 59525, Page 113
et. seq. (“First Security Deed”) and (ii) that certain Deed to Secure Debt and Security Agreement
dated October 1, 2020 and recorded in the Fulton County, Georgia land records on October 20,
2020 in Deed Book 62468, Page 580, et. seq. (“Second Security Deed”). Debtor’s Real Property
in which TP holds a security interest as described in Security Deed may also be referred to herein
as the “Class 6 Collateral.” The Promissory Notes and Security Deeds are referred to herein as the
“Class 6 Loan Documents”).

        Beginning on the 1st day of the 1st month following the Effective Date and continuing for
the 36th months following the Effective Date, Debtor shall pay the Class 6 Secured Claim in equal
monthly payments plus interest accruing at the annual rate of 4.25% in the amount $97,796.57 per
month. TP shall release its lien on and security interest in the Class 6 Collateral for a payment of
the then outstanding allowed Class 6 Secured Claim less any payment previously received and
applied pursuant to this Plan. Upon request by Debtor, TP shall promptly provide a payoff letter
including the then outstanding balance of the Class 6 Secured Claim and an accounting including
all credits and debits, including all payments received and their application.

         In the event Debtor defaults on payments pursuant to Class 6 of the Plan or otherwise
defaults under Class 6 of the Plan, TP shall send a Default Notice to Debtor in accordance with
Article 2.3 of the Plan, which must contain the basis for declaring a default, and, in the event of a
monetary default, the notice must state the amount necessary to cure the default and an address
that will accept overnight deliveries. If Debtor does not cure the default in the period provided in
Article 2.3 of the Plan, TP shall be authorized to accelerate the Class 6 Secured Claim and exercise
its state law rights and remedies against the Class 6 Collateral. Except as otherwise provided for
in this Plan or otherwise inconsistent with this Plan, all non-monetary provisions of the Pre-Petition
Loan Documents and all remedies available to TP under such loan documents shall remain in full
force and effect; provided that, unless and until there is an uncured event of default under Class 6
of the Plan, TP shall forbear and be enjoined from the exercise of any rights or remedies under the
loan documents and any provision within the discretion of TP shall be subject to a reasonableness
standard.

       Nothing herein shall constitute an admission as the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims for any reason.




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       The holder of the Class 6 Secured Claim is impaired and entitled to vote to accept or reject
the Plan. Nothing contained herein shall prohibit Debtor from objecting to the Class 6 Claim for
any reason.

        4.7     Class 7: Interest Claims

     Class 7 consists of Interest Claims. Areu Studios, LLC shall retain 100% of the
membership interest in the Debtor.

        The holders of Class 7 Claims are unimpaired.

              4.8       Sale Procedures

        After the Confirmation Date, Debtor is authorized to sell or refinance its assets free and
clear of liens, claims and encumbrances as set forth herein (the “Sale Procedures”). In the event
the applicable assets are subject to secured claims, Debtor is authorized to sell or refinance such
property for any amount (a release amount) that is at least equal to the outstanding amount of
Allowed Secured Claims securing such property “Release Amount.” The Release Amount, after
payment of customary closing costs including broker fees and other items customarily attributed
to the seller (in a sale) and borrower (in a refinancing), shall be paid at closing as follows: (i) first
to cover any ad valorem property taxes associated with the Real Property and (ii) then secured
claims in order of priority, to the extent of available proceeds. Any net proceeds from any such
sale available after closing shall be paid to fund Debtor’s other obligations as set forth in the Plan.

       The Bankruptcy Court shall retain jurisdiction to reopen the Bankruptcy Case, if
applicable, and resolve any disputes regarding the Sale Procedures herein.

                                            Article 5
                                 Treatment of Unclassified Claims

        7.1.   5.1    Summary. Pursuant to section 1123(a)(1) of the Bankruptcy Code,
Administrative Expense Claims against Debtor are not classified for purposes of voting on, or
receiving Distributions under this Plan. Holders of such Claims are not entitled to vote on this
Plan. All such Claims are instead treated separately in accordance with this Article V and in
accordance with the requirements set forth in section 1129(a)(9)(A) of the Bankruptcy Code.

        With respect to potential Administrative Expense Claims, Debtor, pursuant to Court order,
retained the law firm of Jones & Walden, LLC (“Firm”) to serve as bankruptcy counsel. As set
forth in the employment application and supporting documents, the Firm received a prepetition
retainer in the amount of $43,745.50. As of the date hereof, the fees and expenses incurred by the
Firm have exceeded the retainer. Debtor shall pay any unpaid allowed Administrative Expense
Claim held by the Firm on the Effective Date unless otherwise agreed to by the Firm. The Firm
shall retain its security interest in the pre-petition retainer. Debtor is paying post-petition bills and
does not expect any claims for unpaid post-petition goods and services other than possible
professional fees. Debtor will incur quarterly trustee fees which Debtor intends to pay when due.



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       5.2     Administrative Expense Claims.

              5.2.1 Subject to the provisions of sections 328, 330(a) and 331 of the Bankruptcy
Code, each holder of an Allowed Administrative Expense Claim will be paid the full unpaid
amount of such Allowed Administrative Expense Claim in Cash on the latest of (1) the Effective
Date, (ii) as soon as practicable after the date on which such Claim becomes an Allowed
Administrative Expense Claim, (iii) upon such other terms as may be agreed upon by such holder
and Debtor, or (iv) as otherwise ordered by the Bankruptcy Court; provided, however, that
Allowed Administrative Expense Claims representing obligations incurred by Debtor in the
ordinary course of business after the Filing Date, or otherwise assumed by Debtor on the Effective
Date pursuant to this Plan, including any tax obligations arising after the Filing Date, will be paid
or performed by Debtor when due in accordance with the terms and conditions of the particular
agreements or non-bankruptcy law governing such obligations.


                5.2.2 Except as otherwise provided in this Plan, any Person holding an
Administrative Expense Claim, other than an Administrative Expense Claim arising from the
operation by Debtor of its business in the ordinary course of business, shall file a proof of such
Administrative Expense Claim with the Bankruptcy Court within thirty (30) days after the
Confirmation Date. At the same time any Person files an Administrative Expense Claim, such
Person shall also serve a copy of the Administrative Expense Claim upon counsel for Debtor. Any
Person who fails to timely file and serve a proof of such Administrative Expense Claim shall be
forever barred from seeking payment of such Administrative Expense Claims by Debtor or the
Estate.

               5.2.3 Any Person seeking an award by the Bankruptcy Court of Professional
Compensation shall file a final application with the Bankruptcy Court for allowance of
Professional Compensation for services rendered and reimbursement of expenses incurred through
the Effective Date within thirty (30) days after the Confirmation Date or by such other deadline as
may be fixed by the Bankruptcy Court.

       Debtor may pay professional fees incurred after Confirmation of the Plan without Court
approval. Debtor shall pay all pre-confirmation fees of professionals as payment of same is
approved by the Court.

                                           Article 6
                           Means for the Implementation of the Plan

               6.1     Parties Responsible for Implementation of the Plan. Upon confirmation,
Debtor will be charged with administration of the Case. Debtor will be authorized and empowered
to take such actions as are required to effectuate the Plan. Debtor will file all post-confirmation
reports required by the United States Trustee’s office. Debtor will also file the necessary final
reports and will apply for a final decree as soon as practicable after substantial consummation and
the completion of the claims analysis and objection process. Debtor shall be authorized to reopen



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this case after the entry of a Final Decree to enforce the terms of the Plan including for the purpose
of seeking to hold a party in contempt or to enforce the confirmation or discharge injunction or
otherwise afford relief to Debtor.

       6.2     Sources of Cash for Distribution.

       The source of funds for the payments pursuant to the Plan is the equity infusion in the
amount of $13,761,005.00 provided by Greenberg Film and Television Studio Holdings, LLC,
through the Areu Studios, LLC Chapter 11 Bankruptcy Plan filed contemporaneously herewith.

       The Plan provides that Debtor shall act as the Disbursing Agent to make payments under
the Plan unless Debtor appoints some other entity to do so. Debtor may maintain bank accounts
under the confirmed Plan in the ordinary course of business. Debtor may also pay ordinary and
necessary expenses of administration of the Plan in due course.

        6.3      Preservation of Causes of Action. In accordance with section 1123(b)(3) of the
Bankruptcy Code, Debtor will retain and may (but is not required to) enforce all Retained Actions.
After the Effective Date, Debtor, in its sole and absolute discretion, shall have the right to bring,
settle, release, compromise, or enforce such Retained Actions (or decline to do any of the
foregoing), without further approval of the Bankruptcy Court. Debtor (or any successors, in the
exercise of their sole discretion), may pursue such Retained Actions so long as it is the best
interests of Debtor (or any successors holding such rights of action). The failure of Debtor to
specifically list any claim, right of action, suit, proceeding or other Retained Action in this Plan
does not, and will not be deemed to, constitute a waiver or release by Debtor of such claim, right
of action, suit, proceeding or other Retained Action, and Debtor will retain the right to pursue such
claims, rights of action, suits, proceedings and other Retained Actions in their sole discretion and,
therefore, no preclusion doctrine, collateral estoppel, issue preclusion, claim preclusion, estoppel
(judicial, equitable or otherwise) or laches will apply to such claim, right of action, suit, proceeding
or other Retained Actions upon or after the confirmation or consummation of this Plan. Debtor
reserves all causes of actions for breach of any former or now existing agreement or otherwise.
Neither the Disclosure Statement nor Plan shall be deemed a waiver of any right of Debtor to
collect any receivable or right to payment under any applicable laws. Debtor expressly reserves
the right to exercise any and all remedies available to Debtor regarding its accounts receivable or
rights to payment at law or in equity, at such time or times as Debtor from time to time may elect.
The Disclosure Statement and Plan are filed with a full reservation of rights. Any failure by Debtor
to assert or set forth the occurrence of any other default or events of default which may have
occurred shall not be deemed to be a waiver, release or estoppel of such other default or event of
default. Debtor hereby expressly reserves the right to declare any such other default or event of
default and to take such other action as Debtor may be entitled to applicable law. No delay on the
part of Debtor in exercising any right or remedy shall operate as a waiver in whole or in part of
any right or remedy. The Disclosure Statement and Plan are filed with a full reservation of rights.

        6.4      Effectuating Documents, Further Transactions. Debtor is authorized to execute,
deliver, file, or record such contracts, instruments, releases, indentures, and other agreements or




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documents, and take such action as may be necessary, desirable or appropriate to effectuate and
further evidence the terms and conditions of this Plan or to otherwise comply with applicable law.

         6.5      Exemption from Certain Transfer Taxes and Recording Fees. Pursuant to 11 U.S.C.
§1146(a), O.C.G.A. §48-6-65(a)(2), Ga. Comp. R. & Regs. R. 560-11-8.14 and any other
applicable laws, codes or regulations, any transfers from Debtor to any other Person or entity
pursuant to or in contemplation of this Plan, or any agreement regarding the transfer of title to or
ownership of any of Debtor’s real or personal property will not be subject to any document
recording tax, stamp tax, conveyance fee, sales tax, intangibles or similar tax, mortgage tax, stamp
act, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording
fee, or other similar tax or governmental assessment. Without limitation of the foregoing, the
Confirmation Order may direct the appropriate state or local governmental officials or gents to
forego the collection of any such tax or governmental assessment and to accept for filing and
recordation any of the foregoing instruments or other documents without the payment of any such
tax or governmental assessment.

        6.6     Further Authorization. Debtor shall be entitled to seek such orders, judgments,
injunctions and rulings as it deems necessary or desirable to carry out the intentions and purposes,
and to give full effect to the provisions, of this Plan.

        6.7    Liabilities of Debtor. Debtor will not have any liabilities except those expressly
stated or assumed under the Plan. Debtor will be responsible for all expenses incurred by Debtor
in the ordinary course of business after the Filing Date, and those expenses will be paid in the
ordinary course of business as they become due or as agreed upon by holders of the expense claim.

                                             Article 7
                                           Distributions

        7.1     Disbursing Agent. Unless otherwise provided for herein, all Distributions under
this Plan shall be made by Debtor or its agent.

       7.2      Distributions of Cash. Any Distribution of Cash made by Debtor pursuant to this
Plan shall, at Debtor’s option, be made by check drawn on a domestic bank or by wire transfer
from a domestic bank or in any other form of cash or cash equivalent.

        7.3     No Interest on Claims or Interests. Unless otherwise specifically provided for in
this Plan, the Confirmation Order, or a postpetition agreement in writing between the Debtor and
a Holder, postpetition interest shall not accrue or be paid on Claims, and no Holder shall be entitled
to interest accruing on or after the Filing Date on any Claim. Additionally, and without limiting
the foregoing, interest shall not accrue or be paid on any Disputed Claim in respect of the period
from the Effective Date to the date a final determination is made when and if such Disputed Claim
becomes an Allowed Claim.

      7.4    Delivery of Distributions. The Distribution to a Holder of an Allowed Claim shall
be made by Debtor (a) at the address set forth on the proof of claim filed by such Holder, (b) at the



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address set forth in any written notices of address change delivered to Debtor after the date of any
related proof of claim, (c) at the addresses reflected in the Schedules if no proof of claim has been
filed and Debtor has not received a written notice of a change of address, or (d) if the Holder’s
address is not listed in the Schedules, at the last known address of such Holder according to the
Debtor’s books and records. If any Holder’s Distribution is returned as undeliverable, no further
Distributions to such Holder shall be made unless and until Debtor is notified by such Holder in
writing of such Holder’s then-current address, at which time Debtor shall recommence
Distributions to such Holder without interest but further provided that (i) any distributions not
claimed within 6 months of return shall be irrevocably retained by Debtor and (ii) such Holder
shall waive its right to such Distributions. All Distributions returned to Debtor and not claimed
within six (6) months of return shall be irrevocably retained by Debtor notwithstanding any federal
or state escheat laws to the contrary.

        If any Distribution on an Unsecured Claim (“Unsecured Distribution”) is tendered by
Debtor to a Holder of an Unsecured Claim and returned, refused or otherwise improperly returned
(“Unsecured Distribution Refusal”), Debtor shall not be responsible for making any further
Unsecured Distribution on account of such Unsecured Claim. Accordingly, in the event of an
Unsecured Distribution Refusal, Debtor shall be relieved of any obligation to make said payment
or Distribution and Debtor is relieved of any obligation to make further payments or Distributions
on such Unsecured Claim under the Plan.

        If any Distribution on a Secured Claim or Priority Claim (“Secured or Priority
Distribution”) is tendered by Debtor to a Holder of a Secured Claim or Priority Claim and returned,
refused or otherwise improperly returned (“Secured or Priority Distribution Refusal”), the Holder
of such Secured Claim or Priority Claim, as applicable, shall be deemed to have waived its right
to such tendered payment or Distribution and such tendered payment or Distribution shall be
deemed satisfied. In the event of a Secured or Priority Distribution Refusal, any obligation of
Debtor to make any additional or further payment on such Secured Claim or Priority Claim shall
be tolled until such time as: (i) notice is provided to Debtor that the Holder of such Secured Claim
or Priority Claim seeks to receive payments from Debtor on the Secured Claim or Priority Claim
or otherwise seeks to enforce Debtor’s obligations under the Plan or otherwise enforce the Secured
Claim or Priority Claim and (ii) any dispute regarding the Secured or Priority Distribution Refusal
and its implications is resolved by agreement of the parties or the Bankruptcy Court (the “Tolling
Period”). Only in the event of such notice to Debtor shall Debtor’s obligations to perform as to
the applicable Secured Claim or Priority Claim resume. The Tolling Period shall: (i) extend the
term of the payments on such Secured Claim or Priority Claim and (ii) bar any interest from
accruing on the Secured Claim or Priority Claim until such time as any dispute regarding the
Secured or Priority Distribution Refusal shall be resolved by a Final Order of the court.
Notwithstanding anything in the Plan or otherwise to the contrary, no provision allowing the
imposition of late fees, default interest, late charges, damages, or costs and fees against the Debtor
or the Debtor’s property shall be applicable during the Tolling Period or any period during which
a dispute regarding a Tolling Period is being resolved. For purposes of clarification, Debtor shall
not be required to make any lump sum cure of payments or Distributions which would have
otherwise come due during the Tolling Period or any period during which a dispute regarding a




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Tolling Period is unresolved, and Debtor shall recommence Distributions upon the resolution of
such on the terms in the Plan as tolled.

        7.5     Distributions to Holders as of the Record Date. All Distributions on Allowed
Claims shall be made to the Record Holders of such Claims. As of the close of business on the
Record Date, the Claims register maintained by the Bankruptcy Court shall be closed, and there
shall be no further change in the Record Holder of any Claim. Debtor shall have no obligation to
recognize any transfer of any Claim occurring after the Record Date. Debtor shall instead be
entitled to recognize and deal for all purposes under this Plan with the Record Holders as of the
Record Date.

        7.6    Fractional Dollars. Any other provision of this Plan notwithstanding, the Debtor
shall not be required to make Distributions or payments of fractions of dollars. Whenever any
payment of a fraction of a dollar under this Plan would otherwise be called for, at Debtor’s option
the actual payment shall reflect a rounding of such fraction to the nearest whole dollar (up or
down), with half dollars or less being rounded down.

       7.7     Withholding Taxes. Debtor shall comply with all withholding and reporting
requirements imposed by any federal, state, local, or foreign taxing authority, and all Distributions
under this Plan shall be subject to any such withholding and reporting requirements.

                                          Article 8
                   Procedures for Treating and Resolving Disputed Claims

       8.1     Objections to Claims. Debtor shall be entitled to object to Claims, provided,
however, that Debtor shall not be entitled to object to Claims (i) that have been Allowed by a Final
Order entered by the Bankruptcy Court prior to the Effective Date, or (ii) that are Allowed by the
express terms of this Plan.

       8.2     No Distributions Pending Allowance. Except as otherwise provided herein, no
Distributions will be made with respect to any portion of a Claim unless and until (i) no objection
to such Claim has been filed, or (ii) any objection to such Claim has been settled, withdrawn or
overruled pursuant to a Final Order of the Bankruptcy Court.

       8.3.    Resolution of Claims Objections. On and after the Effective Date, Debtor shall
have the authority to compromise, settle, otherwise resolve, or withdraw any objections to Claims
without approval of the Bankruptcy Court.




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                                           Article 9
                            Provision for Assumption of Unexpired
                               Leases and Executory Contracts

       9.1     Provisions Regarding Executory Contracts.

       As of the Effective Date of the Plan, Debtor will assume all executory contracts regarding
insurance on the Property.

        Any unexpired leases or executory contracts which are not assumed under the Plan or are
the subject of a pending motion to assume as of the Effective Date shall be deemed rejected
pursuant to Section 365 of the Bankruptcy Code on the Effective Date. Under the terms of the
Plan, a proof of claim for damages arising from such rejection must be filed in compliance with
the Bankruptcy Rules on or before sixty (60) days after the Confirmation Date. Any claims which
are not timely filed will be disallowed and discharged.

                                            Article 10
                             Effect of Plan on Claims and Interests

       10.1 Vesting of Debtor’s Assets. Except as otherwise explicitly provided in the Plan,
upon the Court’s entry of the Confirmation Order, all property comprising the Estate (including
Retained Actions, but excluding property that has been abandoned pursuant to an order of the
Bankruptcy Court) shall revest in Debtor free and clear of all Claims, Liens, charges,
encumbrances, rights and Interests of creditors and equity security holders, except as specifically
provided in the Plan. As of the earlier of the Effective Date and the entry of a Final Decree, Debtor
may operate its business and use, acquire, and dispose of property and settle and compromise
Claims or Interests without supervision of the Bankruptcy Court, free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly imposed by the Plan
and Confirmation Order.

         10.2. Discharge of Debtor. Pursuant to section 1141(d) of the Bankruptcy Code, except
as otherwise specifically provided in the Plan or in the Confirmation Order, the Distributions and
rights that are provided in the Plan shall be in complete satisfaction, discharge, and release of all
Claims and Causes of Action against Debtor, whether known or unknown, including any and all
liabilities of Debtor, Liens on Debtor’s assets, obligations of Debtor, rights against Debtor, and
Interests in Debtor or its Estate that arose prior to the Effective Date regardless of whether a
claimant accepted or rejected the Plan

        10.3 Setoffs.         Debtor may, but shall not be required to, set off against any Claim,
and the payments or other Distributions to be made pursuant to this Plan in respect of such Claim,
claims of any nature whatsoever that Debtor may have against such Holder; but neither the failure
to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by Debtor
of any such claim that Debtor may have against such Holder.




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        10.4 Exculpation and Limitation of Liability. Debtor’s current and/or post-Filing Date
and pre-Effective Date members, officers, directors, employees, advisors, attorneys,
representatives, financial advisors, investment bankers, or agents and any of such parties’
successors and assigns, shall not have or incur, and shall be released from, any claim, obligation,
cause of action, or liability to one another or to any Holder of any Claim or Interest, or any other
party-in-interest, or any of their respective agents, employees, representatives, financial advisor,
attorneys, or Affiliates, or any of their successors or assigns, for any act or omission in connection
with, relating to, or arising out of the Bankruptcy Case, the negotiation and filing of the Plan, the
filing of the Bankruptcy Case, the pursuit of confirmation of the Plan, the consummation of the
Plan, or the administration of the Plan, except for their willful misconduct, and in all respects shall
be entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities under the Plan. No Holder of any Claim or Interest, or other party in interest, none
of their respective agents, employees, representatives, financial advisors, or Affiliates, and no
successors or assigns of the foregoing, shall have any right of action against the parties listed in
this provision for any act or omission in connection with, relating to, or arising out of the
Bankruptcy Case, the pursuit of confirmation of the Plan, the consummation of the Plan, or the
administration of the Plan. Fees and expenses which Debtor owes to its Professionals are excluded
from this Exculpation.

        10.5 Injunction. Upon entry of a Confirmation Order in this case, except as
provided for in this Plan, the Confirmation Order shall act as a permanent injunction against
any Person commencing or continuing any action, employment of process, or act to collect,
offset, or recover any Claim or Cause of Action except as provided for under this Plan
against: (1) Debtor, or (2) against any property of Debtor. Such injunction shall survive the
closure of the Bankruptcy Case and this Court shall retain jurisdiction to enforce such
injunction.

       10.6    Effect of Confirmation.

                10.6.1 Binding Effect. On the Confirmation Date, the provisions of this Plan shall
be binding on Debtor, the Estate, all Holders of Claims against or Interests in Debtor, and all other
parties-in-interest whether or not such Holders are Impaired and whether or not such Holders have
accepted this Plan. Creditors shall have no right to enforce a Claim against Debtor, even following
a default under the Plan, except to the extent and amount that any Claim of such creditor is
provided for and then due under the Plan.

                10.6.2 Effect of Confirmation on Automatic Stay. Except as provided otherwise
in this Plan, from and after the Effective Date, the automatic stay of § 362(a) of the Bankruptcy
Code shall terminate.

              10.6.3 Filing of Reports. Debtor shall file all reports and pay all fees required by
the Bankruptcy Code, Bankruptcy Rules, U.S. Trustee guidelines, and the rules and orders of the
Bankruptcy Court.




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               10.6.4 Post-Effective Date Retention of Professionals. Upon the Effective Date,
any requirement that professionals comply with §§ 327 through 331 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date will terminate, and Debtor
will employ and pay professionals in their ordinary course of business.

                                             Article 11
                                        Conditions Precedent

       11.1    Intentionally Deleted.

        11.2 Conditions to the Effective Date. The following are conditions precedent to the
occurrence of the Effective Date, each of which may be satisfied or waived in accordance with
Article 11.3 of this Plan.

                11.2.1 The Confirmation Order shall not have been vacated, reversed or modified
and, as of the Effective Date, shall not have been stayed;

                11.2.2 All documents and agreements to be executed on the Effective Date or
otherwise necessary to implement this Plan shall be in form and substance that is acceptable to
Debtor in its reasonable discretion;

                 11.2.3 Debtor shall have received any authorization, consent, regulatory approval,
ruling, letter, opinion, or document that may be necessary to implement this Plan and that is
required by law, regulation, or order.

        11.3 Waiver of Conditions to Confirmation or Consummation. The conditions set forth
in Article 11.1 and Article 11.2 of this Plan may be waived, in whole or in part, by Debtor without
any notice to any other parties in interest or the Bankruptcy Court and without a hearing. The
failure to satisfy or waive any condition to the Confirmation Date or the Effective Date may be
asserted by Debtor in its sole discretion regardless of the circumstances giving rise to the failure
of such condition to be satisfied (including any action or inaction by Debtor). The failure of Debtor
to exercise any of the foregoing rights shall not be deemed a waiver of any other rights, and each
such right shall be deemed an ongoing right, which may be asserted at any time.

                                         Article 12
                Retention and Scope of Jurisdiction of the Bankruptcy Court

        12.1 Retention of Jurisdiction. Subsequent to the Effective Date, the Bankruptcy Court
shall have or retain jurisdiction for the following purposes:

              12.1.1 To adjudicate objections concerning the allowance, priority or classification
of Claims and any subordination thereof, and to establish a date or dates by which objections to
Claims must be filed to the extent not established herein;




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                12.1.2 To liquidate the amount of any disputed, contingent or unliquidated Claim,
to estimate the amount of any disputed, contingent or unliquidated Claim, to establish the amount
of any reserve required to be withheld from any distribution under this Plan on account of any
disputed, contingent or unliquidated Claim;

              12.1.3 To resolve all matters related to the rejection, and assumption and/or
assignment of any Executory Contract or Unexpired Lease of Debtor;

              12.1.4 To hear and rule upon all Retained Actions, Avoidance Actions and other
Causes of Action commenced and/or pursued by Debtor;

               12.1.5 To hear and rule upon all applications for Professional Compensation;

              12.1.6 To remedy any defect or omission or reconcile any inconsistency in this
Plan, as may be necessary to carry out the intent and purpose of this Plan;

               12.1.7 To construe or interpret any provisions in this Plan and to issue such orders
as may be necessary for the implementation, execution and consummation of this Plan, to the
extent authorized by the Bankruptcy Court;

              12.1.8 To adjudicate controversies arising out of the administration of the Estates
or the implementation of this Plan;

                12.1.9 To make such determinations and enter such orders as may be necessary to
effectuate all the terms and conditions of this Plan, including the Distribution of funds from the
Estate and the payment of claims;

              12.1.10 To determine any suit or proceeding brought by Debtor to recover property
under any provisions of the Bankruptcy Code;

              12.1.11 To hear and determine any tax disputes concerning Debtor and to
determine and declare any tax effects under this Plan;

              12.1.12 To determine such other matters as may be provided for in this Plan or the
Confirmation Order or as may be authorized by or under the provisions of the Bankruptcy Code;

               12.1.13 To determine any controversies, actions or disputes that may arise under
the provisions of this Plan, or the rights, duties or obligations of any Person under the provisions
of this Plan;

               12.1.14 To adjudicate any suit, action or proceeding seeking to enforce any
provision of, or based on any matter arising out of, or in connection with, any agreement pursuant
to which Debtor sold any of its assets during the Bankruptcy Case; and

               12.1.15To enter a final decree.



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               12.1.16 To enforce and interpret any order or injunctions entered in this Bankruptcy
Case.

        12.2 Alternative Jurisdiction. In the event that the Bankruptcy Court is found to lack
jurisdiction to resolve any matter, then the District Court shall hear and determine such matter. If
the District Court does not have jurisdiction, then the matter may be brought before any court
having jurisdiction with regard thereto. Notwithstanding anything to the contrary herein, Debtor
shall be authorized to bring any action related to a lease, contract or account (including any account
receivable due to Debtor) to which Debtor is a party in any state or local court having jurisdiction
over such action.

        12.3 Final Decree. The Bankruptcy Court may, upon application of Debtor, at any time
after “substantial consummation” of the Plan as defined in §1101(2) of the Bankruptcy Code, enter
a final decree in the case, notwithstanding the fact that additional funds may eventually be
distributed to parties in interest. In such event, the Bankruptcy Court may enter an Order closing
these cases pursuant to section 350 of the Bankruptcy Code, provided, however, that: (a) Debtor
shall continue to have the rights, powers, and duties set forth in this Plan; (b) any provision of this
Plan requiring the absence of an objection shall no longer be required, except as otherwise ordered
by the Bankruptcy Court; and (c) the Bankruptcy Court may from time to time reopen the
Bankruptcy Case if appropriate for any of the following purposes: (1) administering Assets; (2)
entertaining any adversary proceedings, contested matters or applications Debtor has brought or
brings with regard to the liquidation of Assets and the prosecution of Causes of Action or otherwise
administering the Plan; (3) enforcing or interpreting this Plan or supervising its implementation;
or (4) for other cause.

                                            Article 13
                                     Miscellaneous Provisions

        13.1 Modification of the Plan. Debtor shall be allowed to modify this Plan pursuant to
section 1127 of the Bankruptcy Code to the extent applicable law permits. Subject to the
limitations contained in this Plan, pursuant to Article 13.1 of this Plan, Debtor may modify this
Plan, before or after confirmation, without notice or hearing, or after such notice and hearing as
the Bankruptcy Court deems appropriate, if the Bankruptcy Court finds that the Modification does
not materially and adversely affect the rights of any parties in interest which have not had notice
and an opportunity to be heard with regard thereto. In the event of any modification on or before
confirmation, any votes to accept or reject this Plan shall be deemed to be votes to accept or reject
this Plan as modified, unless the Bankruptcy Court finds that the modification materially and
adversely affects the rights of parties in interest which have cast said votes. Debtor reserves the
right in accordance with section 1127 of the Bankruptcy Code to modify this Plan at any time
before the Confirmation Date.

       13.2 Allocation of Plan Distributions Between Principal and Interest. To the extent that
any Allowed Claim entitled to a Distribution under this Plan is composed of indebtedness and
accrued but unpaid interest thereon, such distribution shall, to the extent permitted by applicable



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law, be allocated for United States federal income tax purposes to the principal amount of the
Claim first and then, to the extent the consideration exceeds the principal amount of the Claim, to
the portion of the Claim representing accrued but unpaid interest.

       13.3 Applicable Law. Except to the extent that the Bankruptcy Code or the Bankruptcy
Rules are applicable, the rights and obligations arising under this Plan shall be governed by the
laws of the State of Georgia.

        13.4 Preparation of Estate Returns and Resolution of Tax Claims. Debtor shall file all
tax returns and other filings with governmental authorities and may file determination requests
under section 505(b) of the Bankruptcy Code to resolve any Disputed Claim relating to taxes with
a governmental authority.

       13.5 Headings. The headings of the Articles and the sections of this Plan have been used
for convenience only and shall not limit or otherwise affect the meaning thereof.

        13.6 Revocation of Plan. Debtor reserves the right, unilaterally and unconditionally, to
revoke and/or withdraw this Plan at any time prior to entry of the Confirmation Order, and upon
such revocation and/or withdrawal this Plan shall be deemed null and void and of no force and
effect.

        13.7 No Admissions; Objection to Claims. Nothing in this Plan shall be deemed to
constitute an admission that any individual, corporation, partnership, trust, venture, governmental
unit, or any other form of legal entity or person as being the Holder of a Claim is the Holder of an
Allowed Claim, except as expressly provided in this Plan. The failure of Debtor to object to or
examine any Claim for purposes of voting shall not be deemed a waiver of Debtor’s rights to object
to or reexamine such Claim in whole or in part.

        13.8 No Bar to Suits. Except as otherwise provided in Article 10 of this Plan, neither
this Plan or confirmation hereof shall operate to bar or estop Debtor from commencing any Cause
of Action, or any other legal action against any Holder of a Claim or any individual, corporation,
partnership, trust, venture, governmental unit, or any other form of legal entity, whether such
Cause of Action, or any other legal action arose prior to or after the Confirmation Date and whether
or not the existence of such Cause of Action, or any other legal action was disclosed in any
disclosure statement filed by Debtor in connection with this Plan or whether or not any payment
was made or is made on account of any Claim. Without limitation, Debtor retains and reserves the
right to prosecute Retained Actions.

        13.9 Exhibits/Schedules. All exhibits and schedules to this Plan, and all attachments
thereto, are incorporated into and are a part of this Plan as if set forth in full herein.

        13.10 Conflicts. In the event that provisions of the Disclosure Statement and provisions
of this Plan conflict, the terms of this Plan shall govern.




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                                           Article 14
                                       Tax Consequences
        Tax consequences resulting from confirmation of the Plan can vary greatly among the
various Classes of Creditors and Holders of Interests, or within each Class. Significant tax
consequences may occur as a result of confirmation of the Plan under the Internal Revenue Code
and pursuant to state, local, and foreign tax statutes. Because of the various tax issues involved,
the differences in the nature of the Claims of various Creditors, the taxpayer status and methods
of accounting and prior actions taken by Creditors with respect to their Claims, as well as the
possibility that events subsequent to the date hereof could change the tax consequences, this
discussion is intended to be general in nature only. No specific tax consequences to any Creditor
or Holders of an Interest are represented, implied, or warranted. Each Holder of a Claim or Interest
should seek professional tax advice, including the evaluation of recently enacted or pending
legislation, because recent changes in taxation may be complex and lack authoritative
interpretation. The proponent assumes no responsibility for the tax effect that consummation of
the Plan will have on any given Holder of a Claim or Interest. Holders of Claims or Interest are
strongly urged to consult their own tax advisors covering the federal, state, local and foreign tax
consequences of the Plan to their individual situation.


       Respectfully submitted this 5th day of February, 2021

                                              Good Deed 317, LLC

                                              /s/ Ozzie Areu
                                              By: Ozzie Areu, Manager

                                              JONES & WALDEN, LLC

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